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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


  STATE OF LOUISIANA ET AL                           CASE NO. 2:23-CV-01157 LEAD

  VERSUS                                             JUDGE JAMES D. CAIN, JR.

  DEB HAALAND ET AL                                  MAGISTRATE JUDGE LEBLANC


                                            ORDER

         Noting that the lease sale that was the subject of plaintiffs’ Complaint for

  Declaratory and Injunctive Relief had now occurred subject to the terms laid out in the

  court’s Preliminary Injunction, the court ordered the parties to submit briefs on whether

  any other controversies remained in this matter. Doc. 106. Plaintiffs state that controversies

  relating to Lease Sale 261 have now been resolved and submit that the court may close the

  case. Doc. 107. The government agrees that the case has been resolved in plaintiffs’ favor

  and should be terminated. Doc. 108. Accordingly, the clerk is requested to close this matter.

         THUS DONE AND SIGNED in Chambers on the 4th day of June, 2024.


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                                  JAMES D. CAIN, JR.
                          UNITED STATES DISTRICT JUDGE
